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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


United States of America,                              Cr. File No. 07-388(2) (PAM/JJG)

                            Plaintiff,
v.                                                                             ORDER

Houa Vang,

                            Defendant.


         This matter is before the Court on the Report and Recommendation (“R&R”) issued

by Magistrate Judge Jeanne J. Graham on Defendant’s Motion to Suppress Evidence.

Defendant has not filed objections to the R&R in the time permitted.

         Accordingly, IT IS HEREBY ORDERED that Defendant’s Motion to Suppress

(Docket No. 82) is DENIED.



Dated:     February 20, 2008

                                                 s/ Paul A. Magnuson
                                                Paul A. Magnuson
                                                United States District Court Judge
